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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 20-1366V
                                       UNPUBLISHED


    DONNA KNASEL,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: January 28, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On October 13, 2020, Donna Knasel filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury, after receiving an influenza (“flu”)
vaccine on November 8, 2019. Petition at 1, ¶ 1, 11. Petitioner further alleged that she
received the vaccination in the United States, that she suffered the residual effects of her
SIRVA for more than six months, and that neither she nor any other party has filed a civil
action or received compensation for her SIRVA. Id. at ¶¶ 1, 11-12. The case was assigned
to the Special Processing Unit of the Office of Special Masters.


1
 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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         On January 28, 2022, Respondent filed his Rule 4(c) Report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent “has concluded that compensation is appropriate because
[P]etitioner meets the criteria for a presumed SIRVA, as defined by the Vaccine Injury
Table.” Id. at 5. Respondent further agrees that “based on the current record, [P]etitioner
has satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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